Case 1:17-cv-04327-LLS-RWL Document 29-3 Filed 06/21/17 Page 1 of 6

EXHIBIT C
Case 1:17-cv-04327-LLS-RWL Document 29-3 Filed 06/21/17 Page 2 of 6

d71 ‘HUB 9 Ipae|seny ‘ojuassy,g ‘unuy
*‘bSy ‘Ipsejseny *s Aueg

 

wo? MenwGpe dupieienia

dJnuyed Gurfeuspy
181g Pag Le06- FZ (TozZ)
X84 OTOT-Lr6 (T07z)

AION OOT LRG MDZ

  

“ipiebens “ouabiy.g ‘unuy
“bsq ‘ipaejBeng *s Aueg

 

 

 

 

Iprepseny Aueg
nod yuRy

‘ouUeU IeyTuts A[SuIsnyuod Joyjo Aue Jo A[doyjouueyD owreu oy} Jo yewWopen ev Joy UoTRor|dde

Yons JO sous}sIXSUOU OY} WIFUOS asvayd Uy} ‘Jual[o MOA preaystUL | J] [JOM Se UOENIIS yey) o[puRY 0} MOY
SUIWIA}9p ABUT OM JEU} OS “OJoIOY} Bulye[a1 syuoUNdOp |]e “owes JOJ UOTeISISeI oy) ‘uoNeoTdde yrewapen ayy
Jo satdoo apraoid ‘os jr “pur ‘uaye} sem UoToR sIyy Jt AJoyeIpouIUT WATFUOO asea[g “NOD sy} 0} UOTeoTTdde pue
jUIeI|Soq JoyJOUR PUR UOT}OR JO asNd JOYJOUR IO} SIseq 9} 9q ]]IM II ‘WJousq s.JatjOUR Jo sty Joy A[doypouuRYD
SUIBU OY} Poxleiapel} “SIJTUTE] OY} JO UOTeZLOYINE jnoyjIM ‘oy pure ‘oseo oY} SI yey JT “A[doypouueyD

SUIBU dy} UO YeWapel) B paure}go oy Jey} “syyrUTe]g Aq poumo jou sem A[doyjauueyD sureuspen ou}

}eY} papusjuod sy UYyM ‘AepsoysaX UoJUL}S OBpNy S10Jaq P1OI9I SY} UO SJBOIPUT JUOI[O MOA PIVdYIOAO JOYLNY |

"JYSNOs oq [ILM Jolfor oyetudoidde
OY} pUk SULIBOY S,MOLIOUIO} Je LINOD JU} YIM possorppe 9q []IM SIU] “Jopso s,ymM0_ ay} Jad se uoNIpUOd / [0Z
‘97 ARI, SIFMUIETA OY} 0} Youd sonsst [Je WINJoI 0} sNJor 0} SoNUTUOD JOTI INO ‘payoRsye oy} Woy Teayd st sy

‘yUNODIB ASD dU} OFT JUOTTO
Ino Aq poysodapar Ajoyerpawuuut dq pynoys pue pgZ"]{SO‘Eg SI JUNOWR Jey], “wy o} ApOOIIp pansster puke posoues

9q YOoyD Yons yey} poyse ULUIID WY} TVA JO OAD om Aq powoyur sem | “spuNg yUdTONSUT 10} pauNjor pue
potisodep sem yooyo sty, “ASD Aq Jo pred orm yey} s[aARy S,URLIIID JOJ Yooyo B ASO ponss! Gyq ‘UONIppe uy

‘yuUNODOR BOLIOWY JO YUe_ ASD oY} Wor SuIssiUL st eYM Jo SuNUNOOOR parielep v YIM BuoyTe
“Ay woneueldxe ue st payoeye ospy ‘Jepio oytoads s uoyuejg ospne yim oouepsoooe UI ssad0R par0yser AT[NY
Sey 9Y JY} UOTUDUOO Ss JuaT[O INOA ayIdsap ssadov JoUUD jUaTTO AU sJUNODOR dU} JO IST] po[lelep v st payeny

Aespur]

pa’ bsq ipsejBeny s Aueg ‘x20p'snyeys ‘xsjx’snyeys yueg ASD ss}uaWIpeyRYy
UeW} ‘A URIYSepleg (M4 palqns

‘S UBLIg ‘UISNOD 4aJ}sC UeAJ 295

4 Aespury ‘mona 201

Wd 10:9 ZT0z ‘Oz aunr ‘Aepsan| 349g

ipsejbeny Aueg 1044

 

4391}SQ URBAY
Case 1:17-cv-04327-LLS-RWL Document 29-3 Filed 06/21/17 Page 3 of 6

‘nod

yueys “sAoge UMOYs JaquiNnu ay} Je Japuas ay} J9e]UOD aseajd UOISsiUsUeI] SIU] YM SLUa|qojd JO ]NOGe suOsaNb Aue
aney NOA pinoys ‘asn sy Woy Suisise adewep 40 ssoj Aue 104 Ayiqisuodsas |e suNe;ISIP dT] ‘NAW 9 Ipse[seny ‘oiuasuy,q
‘UN pue ‘aadj SNIIA SI} JEU} aiNsua O} JUdIdi9a1 BY] jo Aqiqisuodsa aU} SI 1 ‘SUUaysAs JayNdWOD JaYJO aye

YBILW JLYI Jajap 49430 JO SasnuiA Aue Jo aad} Bq 0} PaAaljaq ase sjUaLUYse}e Aue pue jeW-a Siu} YSNoYYy ‘jew Aq sn 0}
jEUIBLO ay} UNjes pue ‘OOTP-Z6(T0Z) Je auOYdajay Aq sn Aynou aseajd ‘04a Ul UOLedIUNWIOD siy) paAladau aAeY NOA
H “paqiyoud Ajjaiys s| adessaw sii Jo SulAdOd 4o UOIINqLAsIp ‘UOIeUIWWAssiIp ‘malAal Aue Jey) Puek JO.Ua Ul aBessaw Siy}
paniadas aney NOA Jey} paljiyou Aqasay ase NOA Yuaidioas papuaju! ay} jou si adessauu Sit} Jo Japeas ayi 4} jeENUap UO.
pue pasajiaud ‘yons se ‘pue uoljerunuiwod jualja-Aausoye ue aq Aew adessaw siy| “aaoge paweu (s)juaidi9as
payeusisap ay} yo asn [eyuapyuod pue jeuosiad ay} 404 Ajuo papuaqUl Ss} je JUOIWDa]—a S14} UL PauleE}UOD UONeWOJU! JUL

1199 SEOS- PTZ (TOZ)

[Id Padig L806-PZE (LOZ)

x€4 OLOT-Z16 (T0Z)

OM OOTH-Z76 (T0Z)

Woo me Wspe MMM

79920 Aasuar Man ‘48d ayayooy
OET SNS ‘Jeass Wesseg "MA SOE
| BAJUAD yey
Case 1:17-cv-04327-LLS-RWL Document 29-3 Filed 06/21/17 Page 4 of 6

paomssed jasai 0} Aem ou (ysepw aweusasn) Juno20e OJUaZeL\y ssaoze JOUUeD — OjuSse Yj

‘papiaoid uoneyAul
[JeWa 410 paplAoid ulgo] OU - s}yUNOIIe SMy AjdayjauUeYD JO gYQN Ssa20e JoUUeD — Sy

UOI}eWOjU!
pue sjlejap SMW Ajdayjauueyp [je 10} sjulod ssacoe ay} 34am S}uNooIe asauUy 97 Ae uO
junosse WOd'd|j-depu@ns+ysepui ssac0e Jouued
junodoe Wid Aj dajjauveYd@Seyai] sseo0e jouued
yUNOIIE WOI'D||-depu@ysepWi ssaose Jouued — jeI}U9D Jajjes UOZeUIYy

 

 

 

PpeUesyd ssaddy ~ JUNODIY yiomdny

LT02 ‘97 Ae 0} 404d
Ae 0} JON pip | se uls0) WOT SSiNjVaASIeNbsiSdood@edAed ssaooe jouue> — jegkeg

 

paueld ssaooy ~ qnyii5

LT0Z ‘97 AeW sem yi se
JON “MOU JO Se pajelsosse auou Ss! a4aY) pue (}UNOIIe a4INSB) UIZo] JUNODe ajZo003 Aw ysnosyy

UIsO] a Saye jng WOT A[dajjauuey@leeyaii 0} payuess sem se ssaode youue> — daqasieyy

 

LTOZ ‘97 ACW Sem 7 Se JON ‘ssauppe dui AjdayjauueyD YUM DTT ‘Saunqua, asenbs
Jadoo. jo peaysu! dy ‘Ajdayjauueyy sazejs |J9S ‘assoou SI adiys Ul UONeWUOJU AUedWIOD {Ty
pajuesy ssacay — 5di1¢

(s}unos9e 34} Jo Aue ul auaymAue Wods-AjdayjauUeYs ou 4115)
LT0Z ‘97 Ae sem ¥ se jou - uIso] pue juNODIe saluedwod Jno Ss! YsIUM dY¥QN aweuasn ay)
0} Ss909e JaJIp OU “UOIEZOYINY jo sjana] SulAJeA YUM pa}easd SjUNODIE Mau [Iy — APpepoo

 

LT0Z ‘97 Ae Sem 3 se Jou - WOs SdINUaAaTENbsisdoos w ysepu
SB payAul MOU “WOd*AjdosjauUeYI@seysi] se payaul Ajjuasino yon - (Ajdayjauueyy) ySopuaz

 

L10Z ‘92 AeW sem } Se Jou - WOs [eUTw) Lysepayim
se payAul Mou ‘Woo AjdaiauUey> ®Seyoi] se payaul Ajuasino JON — oes

 

 

 

LT0@ ‘97% Ae sem 7 se jou

piaeq Aq payeasd Juno29e Mau e |I/19S SI 1 D11-dVGN 0} }9eq panow uaag JOU sey dyinsy
‘D11-dVGN
JO JuNOd.e JuaJed By} 0} yDeq paAoWw 9q JsNW SjUNOdIe AalINSO [jy ‘JOlWd pip | se jlewa UMO
Awd [04jU09 JO ssaoze 0} Ayyjiqe ay} aw aAIZ JOU SaOp siy} ‘ssauppe jlewa aAeusaye Ue 0} sjlewa
Aw papsemioj Ajduuis sey ay Wid Ajdasjauueys@Seyai] 0} sseode yap aney you oq — jiewy

 
Case 1:17-cv-04327-LLS-RWL Document 29-3 Filed 06/21/17 Page 5 of 6

(Z8°T6S‘ZT) $ quNno dy yUeg ASD 0} paMmo |/NS [eIOL
Case 1:17-cv-04327-LLS-RWL Document 29-3 Filed 06/21/17 Page 6 of 6

(86°TS6'ET) $ qUNOIIy YUL ASD OF PIM [INS [2301
(SZ7°6Z0‘LT) $
GLLL ASWHD NVOYOWd! WnosseyUeg (€7°29Z'8)
SLLL ASWHD NVOYOWds Wwnos0e yuUeg (Z7Z'TSZ)
GLLL ASVHD NVDYOWd! jUNos9e Yue (99'7HT‘T)
GLLL ASWHD NVDYOWdsS JUNoI.e Yue (68°7E9)
GLLL ASVWHD NVDUNOWd! JUNoIe" Yue (g6"9Z4) FHHHHHHHHHH
SLLL ASWHD NVDYOWd! noose yuUeg (EE"STS) HEH

$ GWxyMZLUQOMIAPjdlaaZeOVT Od
S
$
$
S
S
GLLL ASWHODNVOYOWd! ywnosse yueg (ES°7ZS) «SHAH
$
$
$
S
$
S

svEzia6LoOMIp4dlaziAOVT od
3SpLLSSNOOMIp4dlasqiuvT od
dusqysdHOOMIlpidlaOJUVT Od
QOSE9MTPOOMIP4dIa7MISVT Od
olpAYNNOOMIAPsdlalzZOSWT od
PNUNYEJdOOMIP4diFOwWSLVT od
GSOUNSIZOOMIApidlaXAGLYT Od
olspeas}joomolrsdlagyONvT od
AGAQOXEINOOMAPAdISIOZNVT Od
IsuzOsAoOMAlvsdigodanvT od
Mnpde2e00Molyidial4TMVvT od
urdsy6lfoOMolpidlaXINMVT Od
qUNOISY aseYyD SUBLWII Oj susodaq ads

HHH
HHH
HHH
HHH

SLLL ASWHD NVOYOWds Jnosse" yuUeq (00'66Z) HHH
SLLL ASWHD NVDYOWds Jnos0e™yuUeg (79°00T‘T) HHH
SLLL ASWHD NVOYOWds JWnosse yueg (69°2ZS) HHH
SLLL ASWHD NVDYOWds Wnosse yueq (€€°7ZZ'T) AHHH
GLLL ASWHD NVOYOWds nose yueg (€8'7H76) HEHE
GLLL ASWHD NVOYOWds noose Yue (7r'SZ9) HEHE

aouejeg (7L7T'E §$

persre $ Lt0z/0z/9 URLUYD PIAeQ - a4iM sulwodu|
(00°2T) S$ Lt0Zz/6T/9 aaj peqasieyD yay) pauinjoy
(00°SZZ'S) $ Zt02/ST/9 jasunoadp oj JuawiAed
00°09S‘0T $ LT0z/ST/9 URWHD PIAeq - al BuUlWOdU|
(00°0€) § L10Z/€T/9 aaq dajsues| 41M
(£S'0) S$ Lt0Z/€T/9 ugaq yyny asey) uess0Wdf
(00°090‘S) $ LT0Z/ET/9 sainjua, ene 0} Jajsued]
oo'eze’s $ LTOZ/ET/9 ASD Ou! Jaysuesy
€5°699'89 S$ LT0Z/ET/9 ASD OU! saysued |
(00°S€) $ L£10Z/T/9 3a4 WA} YesPsaAQ
(00°S€) S§ Lt0z/TE/S 3d4 WAY YeIPIIAQ
(e9°'786'€7z) S$ LTOZ/0E/S ASD 40 Jno Jajsuess
(00°000‘0S) $ Z£T0z/0e/S ASD JO No saysues |

qunoWwy a7eq UOIPeSUBAL
